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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

RODNEY J. MURPHY,                                           )
                                                            )
      Plaintiff,                                            )
                                                            )   Case No. 2:20-cv-267-RAH
      v.                                                    )
                                                            )
STATE OF ALABAMA DEPARTMENT OF                              )
LABOR, et al.,                                              )
                                                            )
      Defendants.                                           )

                                            ORDER

        On June 18, 2020, the Magistrate Judge entered a Recommendation, (Doc. 5), to

dismiss the case prior to service of process for lack of subject matter jurisdiction. There being

no timely objection filed to the Recommendation, and based on an independent review of the

record, it is ORDERED:

      1. The Recommendation of the Magistrate Judge is ADOPTED. (Doc. 5.)

      2. This case is DISMISSED without prejudice.

      A separate Final Judgment will be entered in accordance with this order.

      DONE, this 17th day of July, 2020.


                                            /s/ R. Austin Huffaker, Jr.
                                     R. AUSTIN HUFFAKER, JR.
                                     UNITED STATES DISTRICT JUDGE
